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                                                                                rn,
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     6                               UN ITE D STA TES DISTRIC T C O U RT
     7                                      DISTRICT OF NEVADA
     8 UNITED STATES OF AM ERICA,                         )
                                                          )
     9                         Plaintiff,                 )
                                                          )
    10           v.                                       )         2:09-CR-466-PM P(LRL)
                                                          )
j   11 LUISM IGUEL SAGRERO-ALBA,                          )
!                                                         )
    12                         Defendant,                 )
E
    13                                 FINAL ORDER OF FORFEITURE
    14           On Jtme 28,2011,the United States DistrictCourtforthe DistrictofN evada entered a

    15 PreliminaryOrderofForfeiturepursuanttoFed,R.Crim.P.32.2(b)(l)and(2);Tit1e18,UnitedStates
    16 Code,Sections924(d)(1),(2)(C)and (3)(B)andThle28,United StatesCode,Section246l(c);and
    17 Title21,United StatesCode,Section 881(a)(11)andTitle28sUnitedStatesCode,Section2461(c),
    18 basedupon thepleaofguiltyby defendantLUIS M IUUEL SAGRERO-ALBA toacriminaloffense,
    l9 forfeiting specific property alleged in the Superseding Crim inalIndictmentand agreed to the Plea
    20 M em orandum and shown by the United Statesto havethereq uisite nexusto the offenseto which
    21 defendantLUIS M IGUEL SAGRERO-ALBA pled guilty.Docket#37,#122,#126,#130.
    22           This Court finds the United States of Am erica published the notice of the forfeiture in
    23 accordance w ith the law via the ofticial governm ent internet forfeiture site, w w m forfeiture,gov,
    24   consecutively from July 1,2011,through July 30,201l,notifying allthird partiesoftheirrightto
    25 petition the Court.//131.
    26    ...
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     1           ThisCourtfindsno petition wastiled hereinby oron behalfofanyperson orentity and the
     2 tim eforfiling such petitionsand claim shasexpired.
     3           ThisCourttindsnopetitionsarependingwithregardtotheassetsnamedherein andthetim e
     4 forpresenting such petitionshasexpired.
     5           THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thata1lright,
     6 title,and interestin the property hereinafterdescribed is condem ned, forfeited,and vested in the
     7 United States ofAmerica pursuantto Fed.R. Crim.P.32.
                                                          2(b)(4)(A)and (B);Fed.R.Crim.P.
     8 32.2(c)(2);Tit1e l8,UnitedStatesCode,Sections924(d)(1),(2)(C)and(3)(B)and Title28,United
     9 StatesCode,Section2461(c);Title2l,United StatesCode,Section881(a)(11)andTitle28,United
    10 StatesCode,Section 246l(c)and Title 21,United StatesCode,Section 853(n)(7)and shallbe
    l1 disposed ofaccording to law :
    12                 a.     .22 caliberDavis lndustriesM odel9M 22 handgun,bearing serialnumber
    13                        305603;and
    14                 b.     anyanda11ammtmitionCtpropertyn).
    15           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thatany and allforfeited
    16 funds,including butnotlim itedto,currency, currencyequivalents,certiticatesofdeposit,aswellas
    l7 anyincomederivedasaresultoftheUnited StatesofAm erica'sm armgementofanypropertyforfeited
    18 herein,andtheproceedsfrom thesaleofany forfeitedproperty shallbedisposed ofaccordingto law .
    19          TheClerk ishereby directed to send copiesofthisOrderto alIcounselofrecord and three
    20   certified copiesto theUnited StatesAttorney'sOffice.
    21          DATED this        *,-'
                                     Y dayof                     , 011 .



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    23                                             U N ITED S A TES D IST CT JU D GE
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